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 1200/18-7152.S/kmc/bja

                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

     WILLIAM BARNHOUSE,                  )
                   Plaintiff,            )
                   v.                    ) Cause No.: 1:19-CV-00958-TWP-DLP
                                         )
     CITY OF MUNCIE, FONDA KING, STEVE   )
     STEWART, GORDON WATTERS, JOSEPH     )
     TODD, STEVE BLEVINS, DONALD BAILEY, )
     TERRY WINTERS, CARL SOBIERALSKI,    )
     AS-YET UNIDENTIFIED MUNCIE POLICE   )
     OFFICERS, and AS-YET UNIDENTIFIED   )
     EMPLOYEES OF THE INDIANA STATE      )
     POLICE CRIME LAB,                   )
                       Defendants.       )

         DEFENDANTS, CITY OF MUNCIE, FONDA KING, STEVE STEWART,
       GORDON WATTERS, JOSEPH TODD, STEVE BLEVINS, DONALD BAILEY,
       AND TERRY WINTERS’ MEMORANDUM IN SUPPORT OF THEIR PARTIAL
         MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

                                              INTRODUCTION

         This case arises out of Plaintiff’s criminal conviction and incarceration for the April 21,

 1992 rape of P.L. Plaintiff filed a First Amended Complaint against Defendants City of Muncie,

 Fonda King, Steve Stewart, Gordon Watters, Joseph Todd, Steve Blevins, Donald Bailey, Terry

 Winters, and others, asserting fourteen counts under 42 U.S.C. § 1983 and state law. As set forth

 in more detail below, this Court should grant these Defendants’ Partial Motion to Dismiss

 Plaintiff’s First Amended Complaint because Plaintiff’s allegations fail to state a claim and/or are

 otherwise barred by immunity. 1




 1
  Defendants move to dismiss Count I as to Defendant Officers King, Stewart, Watters, Todd, and Blevins; Count II,
 Count IV, Count V, Count VII, Count X, Count XI, and Count XII as to all the named Officers; and Count VIII, Count
 IX, Count XII, and Count XIV as to the City. Defendants have contemporaneously filed within their Answer and
 Affirmative Defenses answering Count I on behalf of Defendant Officers Bailey and Winters and Counts III and VII
 on behalf of the named Defendant Officers.
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                PLAINTIFF’S ALLEGATIONS AND PROCEDURAL HISTORY 2

          The following represents a summary of the events that led to Plaintiff’s rape and deviate

 sexual conduct convictions, as found in the state court proceedings:

                   In the early morning hours of April 21, 1993 [sic], P.L. left her apartment
                   and walked toward a convenience store located approximately one block
                   away. As she walked through an alley leading to the store, she was
                   approached by Barnhouse. While riding his bicycle alongside P.L.,
                   Barnhouse asked her whether she wanted to “go party.” P.L. declined,
                   whereupon Barnhouse produced a knife, placed it against P.L.’s side and
                   threatened to kill her. Barnhouse forced P.L to walk with him to an area
                   behind a nearby vacant building.

                   Once there, Barnhouse ordered P.L. to remove her slacks and lie on the
                   ground. When P.L. refused, Barnhouse moved the knife toward P.L.’s face
                   and said he would kill her unless she complied. Succumbing to Barnhouse’s
                   threats, P.L. removed her clothing and lay down. Barnhouse then raped P.L.
                   and forced her to perform fellatio. After the assault, P.L. quickly dressed
                   and began walking away from the scene. As she left, Barnhouse walked
                   beside her warning that if she reported the rape he would kill her.
                   Barnhouse then mounted his bicycle, circled around P.L. several times as
                   she walked, then rode away.

                   As soon as Barnhouse was out of sight, P.L. ran to a nearby convenience
                   store and reported the incident to a store employee. Police were summoned,
                   and shortly thereafter Officer Fonda King arrived on the scene. P.L. told
                   Officer King that she had been raped and provided a description of her
                   attacker.

 [Barnhouse v. State, No. 18A05-9304-CR-137 (Ind. Ct. App. Oct. 21, 1993) (citations omitted),

 Exhibit A, pp. 2-3].3 P.L. described her attacker as a white male with a marked up face, bad

 complexion, and a bottom jaw that jutted out, having a bad odor, approximately her height (she is

 5’9”) or 5’9 or 5’10, thin built, long shoulder length brown hair, wearing light colored jeans and a



 2
   This Court can take judicial notice of the state court proceedings discussed herein without converting this Motion to
 Dismiss into a Motion for Summary Judgment. See White v. Keely, 814 F.3d 883, 885 n. 2 (7th Cir. 2016); Olson v.
 Champaign County, Ill., 784 F.3d 1093, 1097 n. 1 (7th Cir. 2015); Lennon v. City of Carmel, Indiana, No. 1:15-cv-
 02072-JMS-MJD, 2016 WL 5851595, at *3 (S.D. Ind. Oct. 6, 2016); Ennenga v. Starns, 677 F.3d 766, 773-74 (7th
 Cir. 2012); see also Henson v. CSC Credit Svcs., 29 F.3d 280, 284 (7th Cir. 1994); Duncan v. Nelson, 466 F.2d 939,
 941 (7th Cir. 1972).
 3
   The Court of Appeals decision refers to the date of the rape as occurring in 1993. The underlying criminal trial
 record establishes that the rape occurred on April 21, 1992.
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 gray sweatshirt, riding a black bicycle with handlebars that curved back, no fenders, and a chain

 around the seat. [Excerpts from Transcript of Criminal Trial, State v. Barnhouse, 18D02-9204-

 CF-46 (Dec. 14-15, 1992), Exhibit B, pp. 380-81, 402-404, 412, 422]. 4

          Officer King provided the following description of P.L.’s attacker in a “Be On the

 Lookout” bulletin over the police radio: a white male, slim build, 5’9 to 5’10, with dark shoulder

 length brown hair, a mustache, an underbite, wearing a gray sweatshirt and light colored jeans, and

 riding a bicycle with handlebars curved back toward the rider. [Exhibit B, pp. 422-423].

                   Approximately one hour later, a police officer responding to the bulletin
                   observed Barnhouse riding his bicycle a short distance away from where the
                   rape occurred. The officer detained Barnhouse and contacted Officer King.
                   When Officer King learned Barnhouse had been apprehended, she informed
                   P.L. police had detained a “possible suspect” who “fit the description” of
                   her assailant.

 [Exhibit A, p. 3]. In particular, Officer King stated she was “taking [the victim] up to a location

 where [] some officers had a person stopped who fit the description” and she was going “to see if

 she could identify him as…a possible suspect.” [Transcript of Motion to Suppress Hearing, at

 148, State v. Barnhouse, 18D02-9204-CF-46, (Dec. 3, 1992), Exhibit C, p. 148; Exhibit B, p. 425].

                   Officer King then transported P.L. to Barnhouse’s location. When P.L.
                   arrived, she saw Barnhouse standing next to three police officers and their
                   squad cars. P.L. immediately recognized Barnhouse and identified him as
                   the man who assaulted her. P.L. also recognized Barnhouse’s bicycle and
                   the knife he was carrying as those used in the attack.

                   Barnhouse was arrested and charged with Rape and Criminal Deviate
                   Conduct. Prior to trial, Barnhouse moved to suppress evidence of P.L.’s
                   pretrial identification and any in-court identification by P.L. The trial court
                   denied the motion, and evidence of the prior identification as well as P.L.’s
                   in-court identification of Barnhouse was introduced at trial without
                   objection. A jury convicted Barnhouse as charged.




 4
   Defendants will use the Bates numbering that is contained on the original trial transcript for all citations to the
 transcript in this Memorandum.
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 [Exhibit A, pp. 3-4]. Barnhouse appealed the convictions, arguing that the trial court erred in

 denying his motion to suppress identification evidence. [Exhibit A, p. 2]. The Court of Appeals

 affirmed the judgment finding that the identification procedure was not unduly suggestive and the

 pretrial and in-court identifications were properly admitted. [Exhibit A, p. 6].

        Barnhouse subsequently filed and voluntarily moved to withdraw two petitions for post-

 conviction relief, which the court granted. [Petitions for Post-Conviction Relief, Motions to

 Withdraw Petitions for Post-Conviction Relief & Orders, State v. Barnhouse, 18D02-9204-CF-46,

 Exhibit D]. In 2016, Plaintiff’s counsel and the State of Indiana entered a post-conviction DNA

 testing agreement.    [Post-Conviction DNA Testing Agreement and Instructions to Testing

 Laboratory, State v. Barnhouse, 18D02-9204-CF-46, Exhibit E].

        Pursuant to the DNA Testing Agreement, Bode Cellmark Forensics tested P.L.’s jeans and

 the rape kit. [Exhibit E, p. 1]. The testing excluded Barnhouse as the source of the semen, and as

 such, the parties filed a Joint Motion for New Trial. [Joint Motion for New Trial, State v.

 Barnhouse, 18D02-9204-CF-46, Exhibit F, pp. 4-5]. The court vacated Plaintiff’s convictions and

 granted the Joint Motion for a New Trial. [Order Vacating Convictions and Granting New Trial,

 State v. Barnhouse, 18D02-9204-CF-46, Exhibit G].

        The State of Indiana subsequently filed a Motion to Dismiss, stating that “the State is

 unable to scientifically determine whether the sperm from the unknown male was deposited at a

 point in time prior to the rape or during the rape itself,” but the semen tested did not belong to

 Plaintiff. [State of Indiana’s Motion to Dismiss, State v. Barnhouse, 18D02-9204-CF-46, Exhibit

 H, ¶ 7]. The State did not concede that Plaintiff is innocent of the rape of P.L. [Exhibit H]. On

 May 10, 2017, the Court granted the State’s Motion to Dismiss. [Order on Motion to Dismiss,

 State v. Barnhouse, 18D02-9204-CF-46, Exhibit I]. This cause of action followed.



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                                         LEGAL STANDARD

          A pleading requires “a short and plain statement of the claim showing that the pleader is

 entitled to relief” under Federal Rule of Civil Procedure 8. Ashcroft v. Iqbal, 556 U.S. 662, 677-

 78 (2009). A pleading that contains only a “the-defendant-unlawfully-harmed-me accusation” is

 not sufficient to meet the requirements of FRCP 8, but the Rule does not require detailed factual

 allegations either. Id. at 678. Rather, what is required is sufficient factual matter, accepted as true,

 that “state[s] a claim to relief that is plausible on its face.” Id. A pleading is not sufficient if it

 merely provides “‘labels and conclusions’ or ‘a formulaic recitation of the elements of the cause

 of action….’” Id.

          Thus, to survive a motion to dismiss for failure to state a claim, the complaint must “provide

 the grounds of his entitlement to relief” by stating “factual allegations [that are] enough to raise a

 right to relief above the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

 (2007). “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

 statements, do not suffice.” Iqbal, 556 U.S. at 678. Despite the fact that the court must accept the

 Plaintiff’s factual allegations as true in reviewing a motion to dismiss, the court is not required “to

 accept as true a legal conclusion couched as a factual allegation.” Id. If the court cannot “infer

 more than the mere possibility of misconduct, the complaint has alleged—but it has not shown—

 that the pleader is entitled to relief.” Id.

                                                ARGUMENT

     I.      PLAINTIFF FAILS TO STATE A FABRICATION-OF-EVIDENCE CLAIM
             AGAINST DEFENDANTS KING, STEWART, WATTERS, TODD, AND
             BLEVINS IN COUNT I.

          Plaintiff alleges that Defendant Sergeants Donald Bailey and Terry Winters interrogated

 Plaintiff at the police station. [DE #73, ¶ 47]. Plaintiff alleges that at the police station he truthfully

 denied any involvement in the rape, but the Police Defendants fabricated the spontaneous

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 incriminating statements that: “he’d just been partying with a girl named ‘Tric;’ all he did was

 kiss her; he shouldn’t carry a knife; and he didn’t pull a knife on anybody.” [DE #73, ¶¶ 47, 49-

 50]. 5 The Court should dismiss Count I of the First Amended Complaint as to Defendant Officers

 King, Stewart, Watters, Todd, and Blevins for lack of personal involvement in the alleged

 fabrication of evidence.

          Liability will be imposed on an official under Section 1983 “who subjects, or causes to be

 subjected, any citizen of the United States or other person within the jurisdiction thereof to the

 deprivation of any rights, privileges, or immunities secured by the Constitution and laws.”

 Whitlock v. Brueggemann, 682 F.3d 567, 582 (7th Cir. 2012). However, individual liability under

 Section 1983 requires that the public official defendant was personally involved in the alleged

 constitutional deprivation. Colbert v. City of Chicago, 851 F.3d 649, 657 (7th Cir. 2017). A

 plaintiff must establish a causal connection between the officials sued and the alleged misconduct.

 Id.

          Here, Plaintiff fails to allege any facts that suggest that Defendants King, Stewart, Watters,

 Todd, or Blevins were personally involved in the alleged fabrication of evidence. Instead, the only

 allegations that could possibly be construed so as to apply to these Defendants are conclusory and

 therefore, cannot establish the personal involvement required under Section 1983. Thus, the Court

 should dismiss Count I of the First Amended Complaint as to Defendants King, Stewart, Watters,

 Todd, and Blevins.




 5
   Throughout his First Amended Complaint, Plaintiff pleads that he is innocent of raping P.L. Whether Plaintiff
 committed that crime is not at issue for the purposes of this Motion, instead the issue is whether Plaintiff has
 sufficiently pled the claims asserted in his First Amended Complaint. As discussed throughout this Memorandum,
 Plaintiff fails to do so. Defendants expect the evidence in this case to show that Plaintiff did commit the crimes for
 which he was charged and convicted.
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    II.      PLAINTIFF FAILS TO STATE A DUE PROCESS CLAIM IN COUNT II FOR
             ALLEGED BRADY VIOLATIONS BECAUSE EXCULPATORY EVIDENCE
             WAS NOT CONCEALED FROM PLAINTIFF AND THE DUTY TO
             DISCLOSE THE IDENTIFICATION PROCEDURE USED WAS NOT
             CLEARLY ESTABLISHED.

          Plaintiff alleges that Defendants failed to disclose to both the prosecutor and the defense

 the facts and circumstances surrounding the allegedly suggestive identification procedure. [DE

 #73, ¶ 71]. On the face of the First Amended Complaint, Plaintiff fails to establish a Brady claim

 and the Defendant Officers are otherwise entitled to qualified immunity. Therefore, this Court

 should dismiss Count II of the First Amended Complaint.

             a. Plaintiff Fails to State a Brady Claim Because Exculpatory Evidence Was Not
                Concealed from Plaintiff.

          To establish that the Defendant Officers deprived him of his due process right to a fair trial

 by suppressing exculpatory evidence, Plaintiff must prove that: “(1) the suppressed evidence is

 either exculpatory or impeaching and is favorable to the accused; (2) the government, either

 willfully or inadvertently, suppressed the evidence; and (3) the suppressed evidence resulted in

 prejudice.” Petty v. City of Chicago, 754 F.3d 416, 423 (7th Cir. 2014). The Brady rule applies

 in situations in which information is discovered after trial that is known to the prosecutor, but

 unknown to the defense. U.S. v. Agurs, 427 U.S. 97, 103 (1976).

          Evidence is suppressed if the plaintiff can show that: “(1) the state failed to disclose known

 evidence before it was too late for a defendant to make use of the evidence; and (2) the evidence

 was not otherwise available to a defendant through exercise of reasonable diligence.” Petty, 754

 F.3d at 423. Thus, “evidence cannot be said to have been suppressed in violation of Brady if it

 was already known to the defendant.” Avery v. City of Chicago, 847 F.3d 433, 443 (7th Cir. 2017).

 It is not a matter of “whether the City disclosed the potentially exculpatory information at all, but

 whether [the defendant] had sufficient time to use any exculpatory information revealed to him

 during trial.” Petty, 754 F.3d at 423. Further, Brady cannot serve as the basis of a cause of action
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 against police officers for failing to disclose the circumstances surrounding a coerced confession

 to a prosecutor. Sornberger v. City of Knoxville, Ill., 434 F.3d 1006, 1029 (7th Cir. 2006).

        Here, Plaintiff’s Brady claim fails. Because Plaintiff was present during the identification,

 all the facts and circumstances of the identification were already known to the Plaintiff, thereby

 precluding a Brady claim. Avery, 847 F.3d at 443. Plaintiff in fact moved to suppress P.L.’s

 identification of Plaintiff as the man who raped her, asserting the same issues that he asserts in his

 First Amended Complaint. [Motion to Suppress, State v. Barnhouse, 18D02-9204-CF-46, Exhibit

 J].

        In particular, Plaintiff argued in his the Motion to Suppress that “all testimony regarding

 identification should be excluded at trial because the pre-trial identification procedure was tainted

 by its agent[s] of the State,” as “the defendant was arrested and held several miles from the scene

 of the crime,” and “the agents of the State allowed the alleged victim to view the defendant by

 himself and without any benefit of any safeguards.” [Exhibit J].

        At the hearing on Plaintiff’s Motion to Suppress, Officer King testified as to the facts and

 circumstances surrounding the rape, the statement she made to the victim before the identification,

 and the identification procedure. [Exhibit C, pp. 139-150]. The hearing provided Plaintiff’s

 defense counsel the opportunity to cross-examine Officer King concerning any statements that she

 made to the victim, the identification procedure, and the victim’s description of her assailant, and,

 more importantly, Plaintiff’s criminal defense attorney did in fact cross-examine Officer King.

 [Exhibit C, pp. 139-150]. Plaintiff did not call P.L. to testify at the suppression hearing. [Exhibit

 C]. The Court denied Plaintiff’s Motion to Suppress, holding that:

                The indication from [Officer King’s] testimony is that [the identification]
                did occur shortly after the alleged incident, occurred within a…small
                distance, a couple of miles of the alleged crime scene. The police comment
                was not one such as we have the person who committed the offense. There’s
                a person who may or may not be. Consequently, I’ll find that at this
                particular time that there’s not sufficient evidence here that this is an unduly
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                suggestive, does not constitute an unduly suggestive individual line-up. The
                procedure itself is not sufficient to in and of itself taint beyond redemption
                the testimony of the alleged victim.

 [Exhibit C, pp. 157-158].

        Armed with the facts and circumstances of the allegedly suggestive identification and the

 Court’s reasoning for the denial of the Motion to Suppress, Plaintiff had the opportunity to explore

 these topics further, both before and at trial. See Petty, 754 F.3d at 423-24 (finding that dismissal

 of the Brady claim was appropriate because the defendant was aware of the alleged misconduct

 related to the coercive tactics as he tried to suppress the evidence stemming from the tactics and

 could have explored the topic at trial). In fact, Plaintiff had the opportunity to depose P.L. in order

 to solicit testimony that he could use to cast doubt on Plaintiff’s identification and to learn any

 additional information that was unknown to him. Plaintiff did not depose the victim, but did cross-

 examine not only the victim, but also some of the Defendant Officers at trial concerning the

 victim’s description of her assailant and the identification procedure. [Exhibit B].

        It is important to note that Plaintiff did not object to P.L.’s identification of him as the man

 who raped her at trial, despite the knowledge of the facts and circumstances of the identification

 procedure, obtained through Plaintiff’s own experiences and the Motion to Suppress hearing.

 [Exhibit A, p. 4; Exhibit B, pp. 374-419]. Even so, after Plaintiff was convicted, he sought an

 appeal with the Indiana Court of Appeals, where the Court addressed the merits of the allegedly

 suggestive identification procedure, despite the waiver of said argument, on the same evidence as

 was offered at trial and again found the identification to have been proper. [Exhibit A, pp. 2-6].

 As such, Plaintiff did not discover any additional evidence that was known to the prosecutor, taking

 Plaintiff’s claims out of the scope of Brady. See Agurs, 427 U.S. at 103. Regardless, it is clear

 that Plaintiff was either aware of all of the facts and circumstances of the identification procedure,

 both through his own knowledge and recollection and through the testimony of the Defendant

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  Officers at the Motion to Suppress hearing and at trial, or he could have obtained the information

  through reasonable diligence.

         In Sornberger, the failure to disclose the circumstances of a coerced confession to the

  prosecutor did not amount to a Brady violation. Sornberger v. City of Knoxville, Ill., 434 F.3d

  1006, 1029 (7th Cir. 2006). In particular, the plaintiff alleged that the police officer-defendants

  failed to disclose the circumstances of her interrogation to the prosecutor, which she alleged

  resulted in a coerced confession. Id. However, the Court noted that the plaintiff was aware of the

  interrogation circumstances and what allegedly occurred and therefore, “was not deprived of any

  evidence held by the police or the prosecutor that would have helped her question the officers’

  version of the events in court.” Id. The Court therefore held that the failure to disclose the

  circumstances of an allegedly coerced confession did not support a Brady claim and the plaintiff’s

  claim failed. Id. Just as the plaintiff in Sornberger knew the circumstances of her interrogation,

  Plaintiff knew of the circumstances of the identification procedure and what allegedly occurred

  during the identification. Thus, following the logic as applied in Sornberger, the Defendant

  Officers’ alleged failure to disclose the facts and circumstances of the identification procedure

  cannot serve as a basis of a Brady claim as Plaintiff was present and aware of all that allegedly

  occurred during the identification. Thus, Plaintiff’s claim for deprivation of his right to procedural

  due process based on the alleged violations of Brady fails as a matter of law and this Court should

  dismiss Count II of Plaintiff’s First Amended Complaint.

             b. The Duty to Disclose the Circumstances of an Identification Procedure Was
                Not Clearly Established and the Defendant Officers Are Entitled to Qualified
                Immunity.

         Alternatively, the Defendant Officers are entitled to qualified immunity on Plaintiff’s

  Brady claim. Police officers are entitled to qualified immunity “unless (1) they violated a federal

  statutory or constitutional right, and (2) the unlawfulness of their conduct was ‘clearly established

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  at the time.’” District of Columbia v. Wesby, 138 S. Ct. 577, 589 (2018). The Court has the

  discretion to address either prong if it will be dispositive of the case. Pearson v. Callahan, 555

  U.S. 223, 236-43 (2009). The Supreme Court detailed the “clearly established” analysis as

  follows:

                 “Clearly established” means that, at the time of the officer’s conduct, the
                 law was sufficiently clear that every reasonable official would understand
                 that what [they are] doing is unlawful. In other words, existing law must
                 have placed the constitutionality of the officer’s conduct beyond debate.
                 This demanding standard protects all but the plainly incompetent or those
                 who knowingly violate the law.

                 To be clearly established, a legal principle must have a sufficiently clear
                 foundation in then-existing precedent. The rule must be settled law, which
                 means it is dictated by controlling authority or a robust consensus of cases
                 of persuasive authority. It is not enough that the rule is suggested by then-
                 existing precedent. The precedent must be clear enough that every
                 reasonable official would interpret it to establish the particular rule the
                 plaintiff seeks to apply. Otherwise, the rule is not one that every reasonable
                 official would know.

                 The clearly established standard also requires that the legal principle clearly
                 prohibit the officer's conduct in the particular circumstances before [the
                 officer]. The rule’s contours must be so well defined that it is clear to a
                 reasonable officer that [their] conduct was unlawful in the situation []
                 confronted. This requires a high degree of specificity. We have repeatedly
                 stressed that courts must not define clearly established law at a high level
                 of generality, since doing so avoids the crucial question whether the official
                 acted reasonably in the particular circumstances that he or she faced. A rule
                 is too general if the unlawfulness of the officer’s conduct does not follow
                 immediately from the conclusion that the rule was firmly established.

  Wesby, 138 S. Ct. at 589-90 (internal citations and quotation marks omitted). It is Plaintiff’s

  burden to demonstrate that the right at issue was clearly established. Perry v. Sheahan, 222 F.3d

  309, 315 (7th Cir. 2000).

         Here, the Defendant Officers did not violate Plaintiff’s constitutional right of due process

  as it relates to the alleged Brady violations, and therefore, are entitled to qualified immunity.

  However, even if the Court finds that the First Amended Complaint plausibly suggests that the

  Defendant Officers suppressed exculpatory evidence, they are still entitled to qualified immunity
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  because it was not clearly established at the time of the Defendant Officers’ actions that they had

  a responsibility under Brady to disclose the identification procedure used.

            Plaintiff alleges that the Defendant Officers failed to disclose exculpatory evidence from

  the Plaintiff and the prosecution that led to his conviction, thereby supporting his Brady violation

  claim. [DE #73, ¶ 110]. However, Plaintiff’s characterization of the right at issue is too broad, as

  discussed in Carvajal v. Dominguez. 542 F.3d 561, 569 (7th Cir. 2008). The question at issue

  here for qualified immunity purposes is not whether it was clearly established that exculpatory

  evidence must be disclosed, as this characterization of the standard was expressly rejected in

  Carvajal as not only being too general, but also because it assumed the result. Id.

            Rather, the constitutional right at issue must be identified at a more specific level, as

  required under Carvajal and Wesby. Specifically, the Court must consider whether it was clearly

  established that police officers had a duty to disclose the identification procedure used to the

  prosecutor. These Defendants are unaware of any decision by the Seventh Circuit or any of the

  other Circuits that would have clearly established such an obligation under Brady in 1992 to

  disclose the facts and circumstances of an identification procedure used. As such, the Court should

  dismiss Count II of the First Amended Complaint because Plaintiff cannot demonstrate that this

  duty was clearly established and the Defendant Officers are entitled to qualified immunity.

     III.      PLAINTIFF’S PROCEDURAL DUE PROCESS MALICIOUS PROSECUTION
               CLAIM IN COUNT IV FAILS BECAUSE IT IS NOT COGNIZABLE UNDER
               SECTION 1983 AND A RIGHT TO BE FREE FROM PROSECUTION
               WITHOUT PROBABLE CAUSE WAS NOT CLEARLY ESTABLISHED.

            Plaintiff alleges that “Defendants falsely accused Plaintiff of criminal activity and caused

  Plaintiff to be improperly subjected to criminal prosecution for which there was no probable

  cause,” which in turn violated Plaintiff’s right to procedural due process guaranteed by the

  Fourteenth Amendment. [DE #73, ¶¶ 125-26]. While Plaintiff does not use the term “malicious

  prosecution” in Count IV of the First Amended Complaint, Plaintiff’s allegations amount to a
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  malicious prosecution claim under Section 1983. See DE #73, ¶ 125 (“Criminal prosecution was

  commenced and continued maliciously….”). Such a claim is not cognizable under Section 1983

  and the Defendant Officers are otherwise entitled to qualified immunity.

              a. Malicious Prosecution Is Not Cognizable under Section 1983.

          Defendants recognize that the Seventh Circuit in Julian v. Hanna authorized claims against

  Indiana police officers under Section 1983 for malicious prosecution. Julian, 732 F.3d 842, 847

  (7th Cir. 2013). Malicious prosecution claims, however, are wholly inconsistent with the Fourth

  Amendment’s objective-reasonableness standard and are duplicative of pre-trial Fourth

  Amendment claims, and make little sense in the context of due process, which already protects

  criminal defendants’ constitutional right to a fair trial. See Manuel v. City of Joliet, Ill., 137 S. Ct.

  911, 924-26 (2017) (Manuel I) (Alito, J., dissenting). Defendants recognize the binding effect of

  Julian, but wish to preserve this issue for appeal.

              b. The Right to Be Free From Prosecution Without Probable Cause Was Not
                 Clearly Established and the Defendant Officers Are Entitled to Qualified
                 Immunity.

          Alternatively, the Defendant Officers are entitled to qualified immunity because it was not

  clearly established that a due process right exists to be free from prosecution with malice or without

  probable cause, as the law applicable to Section 1983 malicious prosecution claims has never been

  clearly defined. In fact, the law as it stands today does not clearly establish the right to be free

  from prosecution without probable cause. See Manuel v. City of Joliet, Ill., 903 F.3d 667, 670 (7th

  Cir. 2018) (Manuel II). The Manuel II Court explicitly stated that “[t]here is no such thing as a

  constitutional right not to be prosecuted without probable cause.” Id. (quoting Serino v. Hensley,

  735 F.3d 588, 593 (7th Cir. 2013)). Further, the Supreme Court has never held definitively that

  Section 1983 encompasses claims of malicious prosecution. See Campbell v. Brummett, 504 U.S.

  965, 965 (1992) (White, J., dissenting from denial of cert) (“The questions presented concern

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  whether [Section 1983] provides a cause of action for malicious prosecution and, if so, when the

  cause of action accrues.”); Manuel II, 137 S. Ct. at 923 (Alito, J., dissenting). Given that the

  current law does not clearly establish such a right, it follows that this right did not exist and was

  not clearly established in 1992.

         It is sufficient that the Supreme Court has never held that Section 1983 encompasses

  malicious prosecution claims for qualified immunity to apply, regardless of any pre-existing circuit

  precedent. See City of Escondido v. Emmons, 139 S. Ct. 500, 503 (2019) (“[a]ssuming without

  deciding that a court of appeals decision may constitute clearly established law for purposes of

  qualified immunity”). Furthermore, it was not until the Seventh Circuit’s 2013 opinion of Julian

  v. Hanna that it was established in this Circuit that police officers in Indiana could be subject to

  suit for malicious prosecution under Section 1983. See Julian, 732 F.3d at 847. Prior to Julian, a

  police officer in Indiana could not be subjected to a claim for malicious prosecution under Section

  1983. See id. Even the circuit precedent upon which the Seventh Circuit relied in Julian was

  issued subsequent to the prosecution of Plaintiff. See id. at 845.

         Moreover, at the time of Plaintiff’s conviction, the Seventh Circuit expressed uncertainty

  that such a right even existed and explicitly stated that “whether or not the right to be free from

  prosecution without probable cause exists, it does not appear to be clearly established.” Kompare

  v. Stein, 801 F.2d 883, 891 (7th Cir. 1986). The court explained that qualified immunity would

  protect the defendant on such a claim. Id. Further, the Supreme Court had not recognized at the

  time of Plaintiff’s prosecution, and still has not recognized today, that the Constitution provides a

  right not to be prosecuted maliciously or without probable cause. Plaintiff seeks to rely upon

  changes in circuit precedent occurring long after Plaintiff’s prosecution to suggest that the

  Defendant Officers may be liable for maliciously prosecuting him, which qualified immunity

  forbids. As such, Plaintiff will not be able to establish that the right to be free from prosecution

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  with malice or without probable cause was clearly established in 1992. Therefore, the Defendant

  Officers are entitled to qualified immunity on Count IV of the First Amended Complaint.

     IV.       PLAINTIFF’S CLAIM OF LIBERTY DEPRIVATION WITHOUT PROBABLE
               CAUSE IN COUNT V IS TIME-BARRED AND OTHERWISE FAILS TO
               STATE A CLAIM.

           Plaintiff alleges that he was detained and imprisoned without probable cause both prior to

  trial and after his conviction. [DE #73, ¶ 131]. Plaintiff’s allegations essentially amount to

  wrongful pretrial detention. As such, the Fourth Amendment applies. Manuel I, 137 S. Ct. at 913.

  Count V of Plaintiff’s First Amended Complaint should be dismissed for several reasons: (1) the

  claims are time-barred; (2) Plaintiff fails to state a claim upon which relief may be granted; and

  (3) the Defendant Officers are entitled to qualified immunity.

               a. Plaintiff’s Liberty Deprivation Claims Are Time-Barred.

           The state statute of limitations for a personal injury action will apply to a Section 1983

  claim. See Wilson v. Garcia, 471 U.S. 261, 276-80 (1985). As such, in Indiana, a Section 1983

  claim has a two year statute of limitations. Behavioral Institute of Ind., LLC v. City of Hobart

  Common Council, 406 F.3d 926, 929 (7th Cir. 2005). Regardless of whether Plaintiff’s liberty

  deprivation without probable cause claim related to his pretrial detention is characterized as a false

  arrest claim or as a deprivation of liberty claim, Plaintiff’s claims are time-barred.

           First, to the extent that Plaintiff’s allegations establish a false arrest claim under the Fourth

  Amendment, Plaintiff’s claim is untimely. A false arrest claim begins to accrue at the point of

  issuance of process or arraignment. Wallace v. Kato, 549 U.S. 384, 390 (2007). Plaintiff was

  arraigned on April 23, 1992, and therefore, Plaintiff’s false arrest claim under the Fourth

  Amendment expired on April 23, 1994, making Plaintiff’s claim untimely. [April 23, 1992 Docket

  Entry, State v. Barnhouse, 18D02-9204-CF-46, Exhibit K].



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           Second, to the extent that Plaintiff’s allegations establish a deprivation of liberty as it

  applies to the time detained after the legal process commenced, such claim is also time-barred.

  Any post-legal process pretrial detention is still governed by the Fourth Amendment. Manuel I,

  137 S. Ct. at 919. In particular, “if the complaint is that a form of legal process resulted in pretrial

  detention unsupported by probable cause, then the right allegedly infringed lies in the Fourth

  Amendment.” Id. When a plaintiff alleges that the process received failed to establish that which

  the Fourth Amendment requires for pretrial detention—probable cause—then any legal process

  administered does not expunge a Fourth Amendment claim. Id. at 919-20. Further, “the Framers

  drafted the Fourth Amendment to address the matters of pretrial deprivations of liberty, and the

  Amendment thus provides standards and procedures for the detention of suspects pending trial.”

  Id. at 920 n.8. (internal citations and quotations omitted) (quoting Albright v. Oliver, 510 U.S. 266,

  274 (1994); Gerstein v. Pugh, 420 U.S. 103, 125 (1975)). Once a trial occurs, “the Fourth

  Amendment drops out: A person challenging the sufficiency of the evidence to support a

  conviction and any ensuing incarceration does so under the Due Process Clause of the Fourteenth

  Amendment.” Id.

           Here, Plaintiff’s liberty deprivation without probable cause claim addresses the time period

  after the legal process began until his conviction. This pretrial detention falls under the scope of

  the Fourth Amendment, as held in Manuel I. 6 See id. at 919. As a result, the two year statute of

  limitations also applies. In this instance, the seizure under the Fourth Amendment ended the date

  that Plaintiff was convicted, December 15, 1992. [Order, State v. Barnhouse, 18D02-9204-CF-

  46, Exhibit L]. Therefore, Plaintiff’s liberty deprivation without probable clause claim expired on

  December 15, 1994, and as such, is time-barred.


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   Defendants recognize that the Seventh Circuit in Manuel II held that the plaintiff’s detention without probable cause
  claim accrued when he was released from custody. Manuel II, 903 F.3d at 669. However, in Manuel II, the plaintiff
  was not convicted and therefore, any attempt to use Manuel II’s holding to apply to these facts is unavailing. See id.
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             b. Probable Cause Existed to Believe that Plaintiff Raped P.L.

         An individual has the right to be secure from unreasonable seizures under the Fourth

  Amendment. Lewis v. City of Chicago, 914 F.3d 472, 476 (7th Cir. 2019) (quoting U.S. Const.

  amend. IV). If a public official restrains a person’s “movement such that he is not free to leave,”

  the person has been seized. Id. (quoting Brendlin v. California, 551 U.S. 249, 254-55 (2007)). A

  seizure under the Fourth Amendment is “reasonable only if based on probable cause to believe

  that the individual has committed a crime.” Id.

         If “at the time of the arrest, the facts and circumstances within the officer’s knowledge…are

  sufficient to warrant a prudent person, or one of reasonable caution, in believing, in the

  circumstances shown, that the suspect has committed, is committing, or is about to commit an

  offense,” probable cause is said to exist. Thayer v. Chiczewski, 705 F.3d 237, 246 (7th Cir. 2012).

  Only a probability or substantial chance of criminal activity is required, not that criminal activity

  is more likely than not to have occurred. Id. An officer is entitled to rely on a victim’s

  identification of the perpetrator in making a probable cause determination. Howlett v. Hack, 794

  F.3d 721, 727 (7th Cir. 2015). An issue arises if a reasonable officer would have known that the

  person making the identification was acting out of malice or pursuant to a grudge. Id.

         Here, probable cause was established through P.L.’s identification of Plaintiff as the man

  who raped her. After Plaintiff was stopped by the Defendant Officers, the victim arrived on the

  scene and identified Plaintiff as her rapist. [DE #73, ¶ 43]. Plaintiff alleges no facts plausibly

  suggesting that the victim made the identification out of malice or because of a grudge or the

  Defendant Officers’ knowledge thereof. As a result, the Defendant Officers were entitled to rely

  on P.L.’s identification of Plaintiff.    The objectively reliable identification establishes the

  necessary probable cause required, notwithstanding Plaintiff’s allegations that the incriminating

  statements were fabricated. See Cairel v. Alderden, 821 F.3d 823, 834-35 (7th Cir. 2016) (finding

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  that probable cause existed at the time the criminal complaint was filed); Aleman v. Village of

  Hanover Park, 662 F.3d 897, 907 (7th Cir. 2011) (“Villanueva cannot be said to have lacked

  probable cause in preparing the charge of aggravated battery merely because he based the charge

  in part on the worthless ‘confession’ that he had extracted from Aleman.”); Nugent v. Hayes, 88

  F. Supp. 2d 862, 869 (N.D. Ill. 2000) (“Even excluding all of the evidence that Mr. Nugent claims

  is tainted or concocted and including all of the evidence that Mr. Nugent believes is exculpatory,

  the remaining evidence and testimony establishes probable cause to believe that Mr. Nugent

  committed murder.”). Because probable cause existed to believe that Plaintiff committed the rape,

  Plaintiff’s claims for pre-trial detention without probable cause fail.

         c. It Was Not Clearly Established that Detaining Plaintiff Would Be
            Unconstitutional and the Defendant Officers Are Entitled to Qualified Immunity.

         Alternatively, the Defendant Officers are entitled to qualified immunity because it was not

  clearly established that a right to be from pretrial detention absent probable cause existed until the

  Supreme Court recognized same in Manuel I. See Manuel I, 137 S. Ct. at 920. It follows that, at

  the time of Plaintiff’s pretrial detention in 1992, it was not clearly established that Plaintiff had a

  right to be free from pretrial detention without probable cause.

         Further, it was objectively reasonable for the Defendant Officers to have believed that they

  had probable cause. As mentioned above, it was not clearly established that the Defendant Officers

  could not rely on P.L.’s identification of Plaintiff as her attacker in forming probable cause, even

  if the identification was performed under the alleged suggestive circumstances. Plaintiff will be

  unable to fulfill his burden to present any precedent where a similar witness identification was

  unconstitutionally suggestive and a violation of a criminal defendant’s right to a fair trial. Taking

  these components into account, it was not clearly established that the Defendant Officers’ conduct

  in making a probable cause determination was clearly prohibited. As such, the Defendant Officers

  are entitled to qualified immunity for Count V of the First Amended Complaint.
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     V.        PLAINTIFF’S FAILS TO STATE A CLAIM IN COUNT VII FOR FAILURE
               TO INTERVENE, AND THESE DEFENDANTS ARE OTHERWISE
               ENTITLED TO QUALIFIED IMMUNITY.

          Plaintiff alleges that “during the constitutional violations described herein, one or more of

  the Defendants stood by without intervening to prevent the violation of Plaintiff’s constitutional

  rights, even though they had the opportunity to do so.” [DE #73, ¶ 145]. These allegations amount

  to a failure to intervene claim under Section 1983. This claim fails because the Defendant Officers

  King, Stewart, Watters, Todd, and Blevins did not have a realistic opportunity to intervene in the

  alleged fabrication of evidence and the Defendant Officers are otherwise entitled to qualified

  immunity.     Therefore, this Court should dismiss Count VII of Plaintiff’s First Amended

  Complaint.

               a. Plaintiff Fails to State a Claim for Failure to Intervene in any Alleged
                  Deprivation of Plaintiff’s Constitutional Rights.

          It is axiomatic that individual liability under Section 1983 is based upon personal

  involvement. E.g., Colbert, 851 F.3d at 657. For this reason, there is no vicarious liability under

  the statute. See Monell v. Dept. of Soc. Svcs. of City of New York, 436 U.S. 658, 692 (1978).

  However, the Seventh Circuit recognizes certain, limited circumstances where a person may be

  considered sufficiently personally involved to be responsible for the unconstitutional actions of

  another person. One such circumstance is where a public official fails to intervene against a

  constitutional violation committed by another public official, despite having an opportunity to do

  so. Gill v. City of Milwaukee, 850 F.3d 335, 342 (7th Cir. 2017).

          Plaintiff’s failure-to-intervene theory fails because a public official cannot be liable for

  another person’s constitutional violations on this theory if the public official had no ability to

  compel the other person to not violate the plaintiff’s constitutional rights. Hoffman v. Knoebel,

  894 F.3d 836, 842-43 (7th Cir. 2018). A police officer cannot direct a prosecuting attorney to take

  or to refrain from taking any action related to the prosecution of a criminal defendant, such as what
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  evidence to use and which witnesses to call. In addition, the Defendant Officers did not have an

  opportunity to intervene to prevent the prosecutor from using the allegedly false evidence to

  deprive Plaintiff of his liberty or right to fair trial. Therefore, the Defendant Officers could not

  have prevented the prosecutor from depriving Plaintiff of his liberty or his right to a fair trial. Cf.

  Andrews v. Burge, 660 F. Supp. 2d 868, 876 n.6 (N.D. Ill. 2009) (rejecting a failure-to-intervene

  theory against the prosecutor because prosecutors do not “have command of police operations”).

         To the extent that Plaintiff may suggest that the Defendant Officers should have blown the

  whistle on the use of allegedly-false evidence against Plaintiff, this argument would also fail. The

  Constitution does not impose a “general duty to expose wrongdoing. . . .” Hoffman, 894 F.3d at

  842-43. Further, to the extent that Plaintiff alleges that the Defendant Officers failed to intervene

  to prevent Plaintiff from being arrested or detained without probable cause, this claim is foreclosed

  by the two year statute of limitations, as discussed above.

         In addition, to the extent that Plaintiff alleges that Defendant Officers King, Stewart,

  Watters, Todd, and Blevins failed to intervene to prevent Defendant Officers Bailey and Winters

  from allegedly fabricating evidence, the First Amended Complaint is bereft of facts to plausibly

  suggest that they had a realistic opportunity to intervene. The First Amended Complaint does not

  suggest that these Defendants were present during the alleged fabrication of the incriminating

  statements. Therefore, these Defendants did not have a reasonable opportunity to intervene in the

  alleged deprivation of Plaintiff’s constitutional rights and the failure to intervene claim against

  these Defendants should be dismissed.

             b. No Constitutional Duty to Intervene Was Clearly Established and the
                Defendant Officers Are Entitled to Qualified Immunity.

         The Defendant Officers are still entitled to qualified immunity for the failure to intervene

  on Counts II, IV, and V of the First Amended Complaint because these rights were not clearly

  established. As discussed above, it was not and is not clearly established that: (1) the Defendant
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  Officers had a responsibility under Brady to disclose the identification procedure used (Count II);

  (2) a due process right not to be prosecuted without probable cause existed (Count IV); and (3) a

  due process right to be free from pretrial detention without probable cause existed (Count V).

           As the law surrounding the aforementioned areas was not clearly established, it follows

  that the necessity to intervene to prevent their related alleged constitutional deprivations was not

  clearly established. Further, the Supreme Court has never endorsed a Section 1983 failure-to-

  intervene theory of liability for another public official’s constitutional violations. Nor has the

  Supreme Court held that circuit precedent can create clearly-established law. See Emmons, 139 S.

  Ct. at 503. For this reason alone, it could not have been clearly established in 1992 that a public

  official violates the Constitution by failing to prevent another public official from violating the

  Constitution.

           Even assuming that circuit precedent can create clearly established law, circuit precedent

  did not clearly establish in 1992 that a police officer had a constitutional duty to prevent a person

  from being detained without probable cause, to prevent a person from being prosecuted with

  malice or without probable cause, or to prevent a prosecuting attorney from using fabricated

  evidence to detain a criminal defendant or using it against a criminal defendant at trial. Therefore,

  this Court should dismiss Count VII of the First Amended Complaint as to these Defendants for

  the alleged failure to intervene in the constitutional deprivations alleged.

     VI.      COUNT VIII FAILS TO STATE A CLAIM AGAINST THE CITY OF MUNCIE
              FOR MUNICIPAL LIABILITY UNDER SECTION 1983.

           Plaintiff asserts a generic Monell count in Count VIII of the First Amended Complaint for

  municipal liability under Section 1983. [DE #73, ¶¶ 149-53]. Under Rule 8, a plaintiff cannot

  merely recite the elements of a Monell claim and hope to survive a motion to dismiss. Plaintiff

  fails to allege any facts from which municipal liability under Monell could reasonably be inferred.


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  Therefore, this claim fails and this Court should dismiss Count VIII of the First Amended

  Complaint.

         It is axiomatic that there is no respondeat superior liability under Section 1983. See

  Monell, 436 U.S. at 691-95. In order for Plaintiff to prevail on his Monell claim, he must plead

  and prove not only that his rights were violated, but that the City of Muncie was the “moving

  force” behind Plaintiff’s constitutional injury. Id.; City of Canton v. Harris, 489 U.S. 378, 389

  (1989). The “moving force” requirement may be demonstrated through (1) the existence of an

  express municipal policy that caused the alleged constitutional violation, (2) that the person who

  committed the constitutional tort was an official with final policymaking authority, or (3) the

  existence of a pattern, practice, or custom that was so widespread or persistent that it rises to the

  level of a municipal policy. Baxter v. Vigo County Sch. Corp., 26 F.3d 728, 735 (7th Cir. 1994).

  A plaintiff pursuing a claim of municipal liability for a widespread practice must allege more than

  that his or her constitutional rights were violated; rather, “a series of violations must be presented

  to lay the premise for a widespread practice claim under Monell.” Gill v. City of Milwaukee, 850

  F.3d 335, 344 (7th Cir. 2017) (internal quotation marks omitted).

         Plaintiff does not allege, nor could he plausibly allege, that any express municipal policy

  or action of a final policymaking official caused the alleged deprivation of his constitutional rights.

  Rather, Plaintiff seeks to hold the City of Muncie liable for “de facto policies” that he alleges

  caused the deprivation of his constitutional rights. [DE #73, ¶ 151]. However, Plaintiff must

  actually allege facts supporting an inference of municipal liability based upon widespread

  practices; boilerplate recitations of the elements of the cause of action “will not do.” Twombly,

  550 U.S. at 555. At the pleadings stage, “a plaintiff pursuing this theory must allege facts that

  permit the reasonable inference that the practice is so widespread so as to constitute a governmental

  custom.” Gill, 850 F.3d at 344.

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         Plaintiff fails to allege any facts from which it could reasonably be inferred that a

  widespread practice of the City of Muncie was the moving force behind any alleged deprivation

  of his constitutional rights. Plaintiff presents no more than boilerplate recitations of the elements

  of the claim. [DE #73, ¶¶ 95-101, 150-53]. These Monell boilerplate allegations are not entitled

  to a presumption of truth. See Iqbal, 556 U.S. at 678 (holding that similar “‘formulaic recitation

  of the elements’ of a constitutional discrimination claim” failed to plausibly allege a Bivens claim).

  There are no facts pled in the First Amended Complaint supporting Plaintiff’s boilerplate

  allegations that the City of Muncie had any such widespread municipal policies. In addition,

  Plaintiff’s allegations amount to at most a single unconstitutional incident, which is insufficient to

  impose Monell liability. City of Oklahoma City v. Tuttle, 471 U.S. 808, 824 (1985) (quoting Lewis

  v. City of Chi., 496 F.3d 645, 656 (7th Cir. 2007)).

         Allowing Plaintiff to rest his pleadings on “boilerplate [Monell] allegations, and proceed

  to discovery in the hope of turning up some evidence to support the ‘claims’ made” would be

  “tantamount to allowing suit to be filed on a respondeat superior basis.” Strauss v. City of

  Chicago, 760 F.2d 765, 768 (7th Cir. 1985). Plaintiff’s allegations fail to nudge his Monell claim

  “across the line from conceivable to plausible,” and therefore, this Court should dismiss Count

  VIII of Plaintiff’s First Amended Complaint. Twombly, 550 U.S. at 570.

     VII.    COUNT IX FAILS TO PLAUSIBLY SUGGEST ENTITLEMENT TO RELIEF
             AGAINST THE CITY OF MUNCIE PURSUANT TO THE REHABILITATION
             ACT.

         Plaintiff alleges that the Police Defendants intentionally or with deliberate indifference

  discriminated against him by reason of his serious mental impairment and allegedly exploited his

  mental impairment by fabricating the inculpatory statements linking Plaintiff to the crime. [DE

  #73, ¶¶ 154-59]. Plaintiff’s claim under the Rehabilitation Act amounts to a vicarious liability

  claim, which fails as Plaintiff cannot plausibly suggest entitlement to relief against the City of

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  Muncie under the Act. Therefore, this Court should dismiss Count IX of the First Amended

  Complaint.

         Claims for money damages based on vicarious liability are not cognizable under the

  Rehabilitation Act. In Gebser v. Lago Vista Independent School District, 524 U.S. 274, 288

  (1998), the Supreme Court held that Title IX does not “allow recovery in damages where liability

  rests solely on principles of vicarious liability or constructive notice.” Subsequently, courts have

  held that the same limitation applies to claims under the Rehabilitation Act. See Liese v. Indian

  River County Hosp. Dist., 701 F.3d 334, 349 (11th Cir. 2012) (“Gebser provides the correct

  standard [in a Rehabilitation Act case]”). This rule is consistent with Seventh Circuit precedent.

  The year before the Supreme Court decided Gebser, the Seventh Circuit refused to apply agency

  principles in a Title IX case because that statute prohibits discrimination by “programs or

  activities.” Smith v. Metro. Sch. Dist., 128 F.3d 1014, 1022-28 (7th Cir. 1997). The same logic

  applies here, because the Rehabilitation Act operates similarly to Title IX. See 29 U.S.C. § 794

  (providing that the Rehabilitation Act applies to “programs or activities”). Thus, Plaintiff cannot

  recover based on a vicarious liability theory, and, therefore, cannot state a claim for damages

  against the City of Muncie, as the First Amended Complaint lacks any factual allegations to

  suggest that the City of Muncie directly discriminated against Plaintiff upon the sole basis of a

  disability. Therefore, this Court should dismiss Count IX of the First Amended Complaint.

     VIII. PLAINTIFF’S STATE LAW CLAIMS IN COUNTS X THROUGH XIV ARE
           BARRED UNDER THE INDIANA TORT CLAIMS ACT OR THIS COURT
           OTHERWISE LACKS SUBJECT MATTER JURISDICTION.

         The Indiana Tort Claims Act (ITCA) provides immunity to governmental entities and

  governmental employees acting within the scope of their employment in several different

  situations. I.C. § 34-13-3-3. Plaintiff asserts five state law claims against these Defendants: (1)

  intentional infliction of emotional distress (IIED); (2) malicious prosecution; (3) respondeat

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  superior; (4) civil conspiracy; and (5) indemnification. [DE #73, ¶¶ 160-183]. This Court should

  dismiss Counts X through XIV of Plaintiff’s First Amended Complaint, as either the ITCA bars

  the claims or the Court lacks subject matter jurisdiction.

             a. The Defendant Officers Cannot Be Held Individually Liable for the State Law
                Claims in Counts X, XI, and XIII.

         Plaintiff asserts Counts X (IIED), XI (malicious prosecution), and XIII (civil conspiracy)

  against the Defendant Officers. To the extent that these claims are intended to be asserted against

  the Defendant Officers in their individual capacities, such claims are barred under the Indiana Tort

  Claims Act.

         Under I.C. § 34-13-3-5(b), a plaintiff cannot “sue a governmental employee personally if

  the complaint, on its face, alleges that the employee’s acts leading to the claim occurred within the

  scope of employment.” Bushong v. Willamson, 790 N.E.2d 467, 471 (Ind. 2003). A complaint

  that includes allegations of an employee’s actions within the scope of employment that led to the

  cause of action is “an immediate and early indication that the employee is not personally liable.”

  Id. at 472. Plaintiff specifically alleges that the actions of the Defendant Officers were “undertaken

  within the scope of Defendants’ employment”. [DE #73, ¶¶ 164, 171, 175]. As such, the

  aforementioned claims are barred under I.C. § 34-13-3-5(b) and a motion to dismiss is the proper

  course of action. Id. Therefore, this Court should dismiss the Defendant Officers in their

  individual capacities from Counts X, XI, and XIII of the First Amended Complaint.

             b. The Defendant Officers are Immune for Plaintiff’s Intentional Infliction of
                Emotional Distress Claim in Count X.

         Plaintiff asserts an intentional infliction of emotional distress (IIED) claim against the

  Defendant Officers, alleging that their actions, which were taken within the scope of their

  employment, were extreme and outrageous and done intentionally or with knowledge of a high

  probability that said conduct would cause severe emotional distress to Plaintiff. [DE #73, ¶¶ 160-

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  64]. Plaintiff’s IIED claim should be dismissed because the Defendant Officers are immune under

  the Indiana Tort Claims Act (ITCA).

          Under the ITCA, a governmental “employee acting within the scope of the employee’s

  employment is not liable if a loss results from…the adoption and enforcement of…a law…unless

  the act of enforcement constitutes false arrest or false imprisonment.” I.C. § 34-13-3-3(8). While

  ITCA immunity will not apply to claims of false arrest, “‘add on’ claims such as negligence and

  intentional infliction of emotional distress do not survive simply because they are a product of

  improper conduct.” Reiner v. Dandurand, 33 F. Supp. 3d 1018, 1032 (N.D. Ind. 2014) (quoting

  Chapman v. Indiana, 2014 WL 1831161, at *4 (N.D. Ind. May 8, 2014)). Plaintiff alleges that the

  Defendant Officers’ actions were taken within the scope of their employment, thereby placing this

  claim under the scope of the ITCA. As this IIED claims is clearly an add-on claim that is alleged

  to have been a product of improper conduct, it cannot survive.

          Further, the ITCA provides further immunity for the Defendant Officers under Section

  3(6).   In particular, a governmental “employee acting within the scope of the employee’s

  employment is not liable if a loss results from…the initiation of a judicial or administrative

  proceeding.” I.C. § 34-13-3-3(6). Thus, the Defendant Officers are immune for the emotional

  distress that resulted from the decision to file charges against and prosecute Plaintiff.

          In addition, Section 3(10) provides additional protection for the Defendant Officers. In

  particular, a governmental “employee acting within the scope of the employee’s employment is

  not liable if a loss results from…the act or omission of anyone other than the governmental entity

  or the governmental entity’s employee.” I.C. § 34-13-3-3(10). Here, the Defendant Officers are

  entitled to immunity for any losses that resulted from the actions of anyone other than the

  governmental entity. In particular, the Defendant Officers are immune for the prosecutor’s

  decision to file charges, Plaintiff’s pretrial detention, Plaintiff’s convictions, and the confinement

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  that followed pursuant to said convictions. Therefore, this Court should dismiss Count X of the

  First Amended Complaint based on ITCA immunity.

               c. The Defendant Officers are Immune for Plaintiff’s Malicious Prosecution
                  Claim in Count XI.

          Plaintiff asserts a malicious prosecution claim against the Defendant Officers for causing

  Plaintiff to be improperly subjected to a judicial proceeding without probable cause. [DE #73, ¶¶

  165-71]. Plaintiff’s malicious prosecution claim in Count XI of the First Amended Complaint

  should be dismissed because the Defendant Officers are immune under the ITCA.

          An Indiana malicious prosecution claim is established if: “(1) the defendant instituted or

  caused to be instituted an action against the plaintiff; (2) the defendant acted maliciously in so

  doing; (3) the defendant had no probable cause to institute the action; and (4) the original action

  terminated in the plaintiff’s favor.” Welton v. Anderson, 770 F.3d 673, 674 (7th Cir. 2014).

  However, the ITCA shields governmental employees from such claims as a governmental

  “employee acting within the scope of the employee’s employment is not liable if a loss results

  from…the initiation of a judicial or administrative proceeding.” I.C. § 34-13-3-3(6); see also

  Julian, 732 F.3d at 846 (stating that Indiana law grants absolute immunity to police officers for

  malicious prosecution claims); Butt v. McEvoy, 669 N.E.2d 1015, 1017-18 (Ind. Ct. App. 1996)

  (applying I.C. § 34-13-3-3(6)’s predecessor provision to bar a malicious prosecution suit against a

  police officer).

          Here, Plaintiff alleges that all actions that were taken by the Defendant Officers were taken

  within the scope of their employment. [DE #73, ¶ 171]. As such, the Defendant Officers’ actions

  fall squarely within the scope of Section 3(6) and the Defendant Officers are immune for Plaintiff’s

  malicious prosecution claim. Therefore, this Court should dismiss Count XI of the First Amended

  Complaint.


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               d. Plaintiff’s Respondeat Superior Claim in Count XII Fails Because the
                  Defendant Officers Are Immune for the State-Law Torts.

         Plaintiff alleges that the City of Muncie, as the principal, is liable for the violations of state

  law committed by the Defendant Officers, who did so within the scope of their employment and

  under the color of law. [DE #73, ¶¶ 172-74]. However, Plaintiff’s respondeat superior claim fails

  as the Defendant Officers are immune for any alleged violations of state law—IIED and malicious

  prosecution. An employer will be liable for the acts of its employees that are committed within

  the course and scope of their employment. See Hensley, 735 F.3d at 595. As discussed above, the

  Defendant Officers are immune for the claims of IIED and malicious prosecution. As such, the

  City cannot be held vicariously liable for the actions of the Defendant Officers as their actions are

  shielded by immunity. Therefore, this Court should dismiss Count XII of the First Amended

  Complaint.

               e. The Defendant Officers are Immune for Plaintiff’s Civil Conspiracy Claim in
                  Count XIII.

         Plaintiff alleges that the Defendant Officers acted in concert with one another and other

  co-conspirators to accomplish an unlawful purpose by unlawful means. [DE #73, ¶¶ 175-80].

  Plaintiff’s civil conspiracy claim fails as the Defendant Officers are immune for the above torts

  and without an underlying tort, the Defendant Officers cannot be said to have conspired to commit

  the torts and as such, Count XIII of the First Amended Complaint should be dismissed.

         When two or more persons “engage in a concerted action to accomplish an unlawful

  purpose or to accomplish some lawful purpose by unlawful means,” a civil conspiracy is

  recognized. Rosenbaum v. White, 692 F.3d 593, 606 (7th Cir. 2012). However, in Indiana, a

  separate, independent cause of action for civil conspiracy does not exist. Id. Rather, a plaintiff

  may sue for damages resulting from the conspiracy, which requires the plaintiff to “demonstrate

  that the defendants acted in concert with another party in the commission of an independent tort.”

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  Id. Here, Plaintiff asserts that the Defendant Officers engaged in a civil conspiracy to commit the

  above alleged torts—IIED and malicious prosecution. However, because the Defendant Officers

  are immune for these torts and civil conspiracy is not recognized as an independent cause of action

  in Indiana, the Defendant Officers cannot be said to have conspired to commit the torts and Count

  XIII of the First Amended Complaint should be dismissed.

               f. This Court Lacks Subject Matter Jurisdiction over Plaintiff’s Indemnification
                  Claim in Count XIV.

          Plaintiff asserts an indemnification claim against Defendant City of Muncie, based upon

  the City’s statutory obligation to indemnify any judgment against the Defendant Officers under

  I.C. § 34-13-4-1. [DE #73, ¶¶ 181-83]. This Court should dismiss Count XIV of the First Amended

  Complaint, the indemnification claim against the City of Muncie, for lack of subject matter

  jurisdiction.

          A governmental entity that “defends or has the opportunity to defend the public employee

  shall pay any judgment other than punitive damages” provided that an employee “is subject to

  personal civil liability for a loss occurring because of a noncriminal act or omission within the

  scope of the public employee’s employment which violates the civil rights laws of the United

  States.” Sowell v. Dominguez, 2011 WL 294758, at *14 (N.D. Ind. Jan. 26, 2011); Ind. Code §

  34-13-4-1.

          If liability has not been established in the case and a judgment has not been entered, the

  claim is not ripe because “it rests upon contingent future events that may not occur as anticipated,

  or indeed may not occur at all.” Sowell, 2011 WL 294758, at *14. If a plaintiff brings an

  indemnification claim before the underlying liability is resolved, courts have consistently

  dismissed such claims without prejudice for lack of subject matter jurisdiction. See id. (holding

  that a motion to dismiss without prejudice of an indemnification claim is appropriate where

  liability was not yet established); Smith v. Lake County, 2017 WL 568590, at *9 (N.D. Ind. Feb.
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  13, 2017) (maintaining that if liability is not established, an indemnification claim must be

  dismissed without prejudice); Hobson v. Dominguez, 2012 WL 4361537, at *16 (N.D. Ind. Sept.

  24, 2012) (finding an indemnification claim should be dismissed without prejudice if liability is

  not established).

          “Rule 12(b)(1) requires dismissal if the court lacks subject matter jurisdiction.” Estate of

  Eiteljorg ex rel. Eiteljorg v. Eiteljorg, 813 F. Supp. 2d 1069, 1073 (S.D. Ind. 2011). Where, as

  here, a defendant asserts a facial challenge to subject matter jurisdiction, the court looks at the

  complaint to determine whether the plaintiff has sufficiently alleged a basis for federal court

  jurisdiction. Apex Digital, Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443 (7th Cir. 2009). If a

  claim is unripe, then the district courts lack subject matter jurisdiction over the claim. Wisconsin

  Cent., Ltd. v. Shannon, 539 F.3d 751, 759 (7th Cir. 2008).; Medical Assurance Co., Inc. v. Hellman,

  610 F.3d 371, 375 (7th Cir. 2010) (“The district court was aware that the duty-to-indemnify claim

  was not ripe, but rather than dismiss that aspect of the case, it included it in the stay that was issued.

  The proper disposition, however, would have been to dismiss.”).

          Here, Plaintiff’s First Amended Complaint brings an indemnification claim against the City

  of Muncie for the alleged misconduct committed by the Defendant Officers. [DE #73, ¶¶ 181-83].

  As liability has not been established at this stage and no judgment has been entered that would

  give rise to an indemnification claim, the claim is unripe and this Court lacks subject matter

  jurisdiction over same. Only in the event that this Court finds the Defendant Officers are liable

  for the alleged constitutional deprivations that were committed against Plaintiff can he assert an

  indemnification claim against the City of Muncie.            However, because this claim relies on

  unpredictable future events that may or may not occur, Plaintiff’s indemnification claim is not ripe

  and this Court lacks subject matter jurisdiction over it. Therefore, this Court should dismiss the

  indemnification claim against the City of Muncie in Count XIV of the First Amended Complaint.

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                                         CONCLUSION

         In conclusion, this Court should grant Defendants City of Muncie, Fonda King, Steve

  Stewart, Gordon Watters, Joseph Todd, Steve Blevins, Donald Bailey, and Terry Winters’ Partial

  Motion to Dismiss, and in particular, the dismissal of Count I as to Fonda King, Steve Stewart,

  Gordon Watters, Joseph Todd, and Steve Blevins; Count II; Count IV through Count V; and Count

  VI through Count XIV, for all of the above-stated reasons and/or for any relief deemed just and

  proper in the premises.

                                             Respectfully submitted,


                                             /s/ Katlyn M. Christman
                                             KATLYN M. CHRISTMAN (#34670-64)

                                             /s/ Joseph W. Smith
                                             Joseph W. Smith (#29663-64)

                                             /s/ Elizabeth A. Knight
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                                 CERTIFICATE OF SERVICE

  I hereby certify that on the 27th day of August, 2019, the foregoing DEFENDANTS, CITY OF
  MUNCIE, FONDA KING, STEVE STEWART, GORDON WATTERS, JOSEPH TODD,
  STEVE BLEVINS, DONALD BAILEY, AND TERRY WINTERS’ MEMORANDUM IN
  SUPPORT OF THEIR PARTIAL MOTION TO DISMISS PLAINTIFF’S FIRST
  AMENDED COMPLAINT was electronically filed with the Clerk of the Court using the
  CM/ECF system, which will send notification of such filing to the following CM/ECF participants:

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  Manual Notice: None.

                                              /s/ Katlyn M. Christman

                                              /s/ Joseph W. Smith

                                              /s/ Elizabeth A. Knight

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